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 9                             UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12   IN RE: CATHODE RAY TUBE (CRT)               Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
13   ____________________________________        MDL No. 1917
     This Document Relates to:
14                                               [PROPOSED] ORDER GRANTING DIRECT
                                                 PURCHASER PLAINTIFFS’
15   DIRECT PURCHASER CLASS ACTIONS              ADMINISTRATIVE MOTION TO SEAL
                                                 DOCUMENTS PURSUANT TO CIVIL
16                                               LOCAL RULES 7-11 AND 79-5(d)
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       [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO
     SEAL DOCUMENTS PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d); Master File No. CV-07-5944-SC
         Case 3:07-cv-05944-JST Document 2257 Filed 12/11/13 Page 2 of 2




 1            On November 11, 2013, Plaintiffs filed an Administrative Motion to Seal Documents

 2   Pursuant To Civil Local Rules 7-11 And 79-5(d) to file the following document under seal:

 3            •    Gray highlighted Portions of the Reply Brief in Support of Direct Purchaser Plaintiffs’
                   Motion for Class Certification that contain quotations or information from documents
 4                 that Defendants have designated “Confidential” or “Highly Confidential”;
 5            •    Exhibits 1, 5, 6, and 7 to the Declaration of Geoffrey C. Rushing in Support Reply Brief
                   in Support of Direct Purchaser Plaintiffs’ Motion for Class Certification that contain
 6                 quotations or information from documents that Defendants have designated
                   “Confidential” or “Highly Confidential”; and
 7
              •    The Reply Expert Report of Jeffrey J. Leitzinger, Ph.D.
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 9            Having read and considered the papers filed and arguments made by counsel, and good

10   cause appearing, IT IS HEREBY ORDERED that Plaintiffs’ Administrative Motion To Seal

11   Documents Pursuant To Civil Local Rules 7-11 And 79-5(d) is GRANTED.

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13   IT IS SO ORDERED.

14
     Dated:       December 11, 2013 .
15
                                                         Hon. Samuel Conti
16                                                       UNITED STATES DISTRICT JUDGE
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        [PROPOSED] ORDER GRANTING DIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO
      SEAL DOCUMENTS PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d); Master File No. CV-07-5944-SC
